               DISTRICTCase
                        COURT   OF MARYLAND FOR
                            8:19-cv-02032-GJH     Prince 1-4
                                              Document   George's
                                  LOCATED AT (COURT ADDRESS)
                                                                  County
                                                              Filed 07/10/19 Page 1 of 2                                                                                                         G
                                                                                                                         COMPLAINT/APPLICATION AND AFFIDA VIT
             14735 Main St.,                                                                                                     IN SUPPORT OF JUD GMENT
             Upper Marlboro, MD 20772                                                                                     D $5,000 or under O over $5,000 00 over $10,000
                                                                                                               Clerk: Please docket this case in an action of D contract !Kl tort
                                          CASE NO.
                                                                                                               D replevin D detinue D bad faith insurance claim
                                                                                                          ) The particulars of this case are:
      ~-,....._-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-,:_-_-_-,:_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-_-,:,:_-.::... On or about June 18, 2018, Plaintiff was a passenger on a Metro bus,
 1---cc-~-----------------------
                                                      PARTIES                                                 owned by Defendant 1, on Greenbelt Road at its intersection with
    P la intiff                                                                                               Cherry Wood lane. At our about the same time and place, Defendant 2
        Oliver James, Jr.                                                                                    was also traveling on Greenbelt Road when Defendant 1 was making
         1822 Metzerott Road, Apt 402                                                                        a left turn off of greenbelt road and was struck by Defendant 2.
        Adelphi, MD 20783                                                                                    Defendants were negligent in failing to maintain control of their
                                                                                                             vehciles to avoid a collision, failing to keep a proper lookout, maintain
                                                                                                             the lane in which they were traveling, and give full time and attention
  /                                                      vs.
   Defendant(s}:
     1. Washington Metro Area Transit Authority                                               ¡gJ
                                                                                                    '
                                                                                              Serve by:
                                                                                                  Certified
                                                                                                   Mail
                                                                                                             to the task of driving in causing said collision. Defendants' negligence
                                                                                                             was the sole and proximate cause of the collision that resulted in
                                                                                                             injuries, pain and suffering to the Plaintiff Oliver James, Jr.
        SERVE: Carol O'KEefe                                                          O Private
       600 5th St., Ste. 2D                                                                 Process
       Washington, DC 20001                                                           O Constable
                                                                                      0   Sheriff
                                                                                      Serve by:
  2.GREENBELT ROAD SHELL                                                              ~ Certified
    SERVE: GREENPARK CORPORATION                                                          Mail
    6327 GREENBELT RD                                                                 O Private
                                                                                          Process
    BERWYN HEIGHTS MD 20740-2318                                                      O Constable
                                                                                      O Sheriff
  3.                                                                                 Serve by:                                                      (See Continuation Sheet)
                                                                                     O Certified
                                                                                         Mail
                                              RECEIVED                -              O Private            The plaintiff claims $15,000.00                 plus interest of$                 ,
                                                                                         Process          interest at the D legal rate O contractual rate calculated at                       %,
                                                                                     O Constable
                                                                                     0 Sheriff            from                        to                     ( __ daysx$                 _
                                              11/N l'I,.,
                                                      ..    ,n1n
                                                               -                     Serve by:
                                                                                                          per day) and attorney's fees of$                               plus court costs .
  4.
                                                                                     O Certified          D Return of the property and damages of$                                          _
                                                   CG                                    Mail
                                                                                     O Private
                                                                                                             for its detention in an action of replevin.
                                                                                         Process          D Return of-tiíeùroperty, or its value, plus damages of
                                                                                     O Constable             $ ___,./ ___,_ J                       for its detention in action of detinue.
                                                                                     0 Sheriff            0 0th de_ : m_-t,,'f'/tt'::---,::=--:::---:-=-=-------------
/
                                                                                                    '
                                         ATTORNEYS
  For Plaintiff - Name, Address, Telephone Number & Code                                                                                                                          1412180241
  Justin A. Turner, Esq. (1412180241)                                                                                           ature of Plain ¡ff/Attorney/ Attorney Code          CPF ID No.
  Slocumb Law Firm, 401 E. Pratt St., Suite 444                                                            Printe ame: Justin Turner
  Baltimore, MD 21202                                                                                                     --------------------
                                                                                                           Ad     s: 401 E. Pratt St., Suite 444, Baltimore, MD 21202
  443-220-0049                                                                                             Tel, phone Number: 443-220-0049
  240-345-1246                                                                                             Fax: 240-345-1246 ------------------
                                                                           E-mail: jturner@slocumblaw.com
                                                      MILITARY SERVICE AFFIDAVIT
O Defendant(s)------------------.-,------------------ is/are in the military service.
D No defendant is in the military service. The facts supportin7ttb.s statement are:                       _

                                              Specific facts must be given for the Court to conclude that each Defendant who   is?   raJ   rson is not in the military.


     am unable to determine whether or not·any defendant is in military service.
I hereby declare or affirm under the penalties of perjury that the facts and matters                                                            ~ton::going Affidavit are true and correct to
the best of mÎknowledge, information, and belief.

            ji31{ (C\             Date
                                                                                                 --~-::_~=--=-------
                APPLICATION AND AFFIDAVIT IN SUPPORT OF JUD M NT (See Plaintiff Notice on Back Page)
Attached hereto are the indicated documents which contain sufficient detail a to ability and damage to apprise the defendant clearly of the
claim against the defendant, including the amount of any interest claimed.
D Properly authenticated copy of any note, security agreement upon which ai is based D Itemized statement of accountf.l Interest worksheet
D Vouchers O Check D Other written document                           □--------~-------            D Verified itemized repair bill or estimate
I HEREBY CERTIFY: That I am the D plaintiff O                               ·            of the plaintiff herein and am competent to testify
to the matters stated in this Complaint, which are made on my personal knowledge; that there is Justly due and owing by the defendant to the
plaintiff the sum set forth in the Complaint.
I solemnly a~ under the penalties of perjury and upon personal knowledge that the contents of the above Complaint are true and I am
competent to testify to these matters.
                                  Date                                                                                                               Signature of Afilan!
DC-CV-001 (front) (Rev. 12/2018)
                    Case 8:19-cv-02032-GJH Document 1-4 Filed 07/10/19 Page 2 of 2
                                               NOTICE TO DEFENDANT
                                                         Before Trial
 If you agree that you owe the plaintiff the amount claimed, you may contact the plaintiff ( or plaintiffs attorney) before
 the trial date to arrange payment. If you wish to contest the claim, you should notify the clerk's office by filing a Notice
 of Intent to Defend (located at the bottom of your summons). The case will be set for trial. If you wish to have your
 witnesses appear 'at trial, you should contact the clerk's office at least two weeks before the trial date to request subpoenas,
 and you should bring to court on the trial date any evidence you want the court to consider. If you do nothing, a judgment
 could be entered against you.
                                    If Judgment is Entered Against You (If You Lose)
 IF YOU DISAGREE WITH THE COURT'S RULING, you may:
    1. APPEAL to the circuit court, by filing a Notice of Appeal in the District Court within 30 days after the entry of
       judgment. You will have to pay a filing fee (see Guide to Appeal Fees, DCA-109A), unless the
       court determines that you are indigent. If the amount of the claim, not counting court costs, interest,
       and attorney's fees, is:
          • more than $5,000, you will also have to order and pay for a transcript of the District Court trial
            record, by contacting the District Court clerk's office (see Transcripts & Recordings Brochure, DCA-027BR).

           • $5,000 or less, you will have a new trial in the circuit court.
         On your trial date you should bring with you any evidence that you want the court to consider.

    2.   File a MOTION FOR A NEW TRIAL within 10 days after the entry of judgment, stating your reasons clearly. If
         the court denies your motion, you may still file an appeal; if the court grants your motion,
         you must appear in the District Court for a new trial.
    3.   File a MOTION TO ALTER OR AMEND THE JUDGMENT within 10 days after entry of judgment.
   4.    File a MOTION TO REVISE OR VACATE THE JUDGMENT within 30 days after entry of judgment.
IF YOU DECIDE NOT TO APPEAL AND NOT TO FILE ONE OF THE ABOVE MOTIONS, you may contact the
plaintiff or plaintiffs attorney to arrange to pay the amount owed. If you do not pay the amount owed, the plaintiff or
plaintiffs attorney may initiate further proceedings to enforce the judgment, including:
    1. Interrogatories: You must answer these written questions about your income and assets in writing
         under penalties of perjury.
   2.    Oral Examination: You must appear in court to testify in response to questions about your assets and income.
   3.    Writ of Execution: The court may issue a writ requiring the sale or seizure of any of your possessions except,
         with some exceptions, property that is exempt from execution. The exemptions are explained in detail on the
         reverse side of the Writ of Execution form, DC-CV-040. Further, the court could order you to pay additional
         expenses such as towing, moving, storage fees, advertising costs, and auctioneer's fees incurred in executing the
         writ.
   4.    Garnishment of Property: The court may issue a writ ordering a bank or other agent to hold your
         assets until further court proceedings.
   5.    Garnishment of Wages: The court may issue a writ ordering your employer to withhold a portion of
         your wages to pay your debt. The law provides certain exemptions from garnishment.

If you have any questions, you should consult an attorney. The clerk of the court is not permitted to give you legal
advice. More information can be found in court brochures located in the clerk's office or online at:
http://www.mdcourts.gov/district/public_brochures.html.
                                                NOTICE TO PLAINTIFF
REQUESTING A JUDGMENT BY AFFIDAVIT OR DEFAULT:
Federal Law requires the filing of a military service affidavit. Information about the Servicemembers Civil Relief Act and
the required affidavit can be found on the court's website at: http://mdcourts.gov/reference/scra.html.

AFTER THE COURT ENTERS A JUDGMENT:
1. If the court enters a judgment for a sum certain, you have the right to file for a lien on real property.
2. If you disagree with the outcome of the case, you have the same post-trial rights as the defendant does:
   you may file an Appeal, a Motion for New Trial, a Motion to Alter or Amend the Judgment or a Motion to Revise or
   Vacate the Judgment. See above for further information concerning these rights.

DC-CV-001 (back) (Rev. 12/2018)
